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          IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF KANSAS
CHRIS HAULMARK,                             )
               Plaintiff,                   )
               V.                           )
CITY OF WICHITA,                            )
       and                                  ) Civil Action No. _21-1182-EFM-TJJ__
BRANDON WHIPPLE, in his official            )
capacity as the Mayor of the                )
City of Wichita,                            )
               Defendants.                  )
________________________________            )

      PLAINTIFF HAULMARK’S REPLY IN SUPPORT OF MOTION
       TO COMPEL DISCOVERY FROM DEFENDANT WHIPPLE

      COMES NOW, Plaintiff Chris Haulmark, appearing pro se, respectfully

requests this Court to reject Defendant Brandon Whipple's Response to

Plaintiff's Motion to Compel (See Response by Defendant Brandon Whipple)

(Docket No. 32) (hereinafter “Whipple’s Response”) and grant Plaintiff

Haulmark's Motion to Compel Discovery from Defendant Whipple. (See Plaintiff

Haulmark’s Motion to Compel Discovery) (Docket No. 28) (hereinafter

“Haulmark’s Motion”) Plaintiff Haulmark provides the following statements and

authorities:

                                   I. INTRODUCTION
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      1.    During the signing ceremony of the Americans with Disabilities Act

(hereinafter “ADA” or “Title II”) on July 26, 1990, President George H.W. Bush

closed his speech by saying, "Let the shameful wall of exclusion finally come

tumbling down."

      2.    Plaintiff Haulmark initiated the discovery process by sending the

First Set of Requests for Production of Documents to both Defendants on October

13, 2021. (See ¶ 5 in Haulmark’s Motion) Defendant Whipple objected to nearly

every reasonable request with an irrelevancy argument that ADA cannot apply

to Defendant Whipple’s campaign Facebook page (hereinafter “Whipple’s

Facebook Page”). (See ¶¶ 8-9 in Haulmark’s Motion). Plaintiff Haulmark filed

Haulmark’s Motion on February 4, 2022 for this Court to order Defendant

Whipple to fully respond to all twelve requests for production of documents.

      3.    While Whipple's Response was filed on February 16, 2022, it shows

that despite Plaintiff Haulmark's persuasive attempts to confer with the

Defendants, Defendant Whipple continues to maintain the same shameful wall,

preventing individuals with hearing disabilities from accessing government

speech and activities, on behalf of the public entity he represents. Additionally,

by prematurely presenting defense theories against Title II, Defendant Whipple

is arguing against the merits presented in Plaintiff Haulmark's Complaint and




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Haulmark’s Motion. This effort is to impede Plaintiff Haulmark's right to engage

in discovery efforts in relation to Whipple's Facebook Page.

      4.    In accordance with Rule 26(b)(1) of the Federal Rules of Civil

Procedure, Defendant Whipple's Facebook Page is relevant to Plaintiff

Haulmark's discovery even when Defendant Whipple prematurely advances

theories of defense to cast doubt on Plaintiff Haulmark’s ADA claims. In fact,

these argued defense theories presented by the Defendants actually reinforce the

relevance of Whipple's Facebook Page in this case, inter alia.

             II. RULE 26(b)(1) OF THE FEDERAL RULES OF CIVIL
                                 PROCEDURE

      5.    The Rule 26(b)(1) of the Federal Rules of Civil Procedure states:

“Parties may obtain discovery regarding any nonprivileged matter that is

relevant to any party's claim or defense and proportional to the needs of the case,

considering the importance of the issues at stake in the action, the amount in

controversy, the parties’ relative access to relevant information, the parties’

resources, the importance of the discovery in resolving the issues, and whether

the burden or expense of the proposed discovery outweighs its likely benefit.

Information within this scope of discovery need not be admissible in evidence to

be discoverable.”




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      6.    “Considerations of both relevance and proportionality now govern the

scope of discovery. Relevance is still to be construed broadly to encompass any

matter that bears on, or that reasonably could lead to other matter that could

bear on any party's claim or defense. Information still need not be admissible in

evidence to be discoverable.” Gilmore v. L.D. Drilling, Inc., Case No.

16-cv-2416-JAR-TJJ, at *2-3 (D. Kan. Jul. 21, 2017) (Cleaned up) “Relevancy is

broadly construed at the discovery stage of litigation and a request for discovery

should be considered relevant if there is any possibility the information sought

may be relevant to the subject matter of the action.” Continental Coal, Inc. v.

Cunningham, Case No. 06-2122-KHV, at *5 (D. Kan. Nov. 28, 2007) (Citing

Smith v. MCI Telecommunications Corp., 137 F.R.D. 25, at 27 (D. Kan. 1991))

      7.    “[W]hen the discovery sought appears relevant, the party resisting

discovery has the burden to establish the lack of relevancy by demonstrating that

the requested discovery (1) does not come within the scope of relevancy as

defined under Fed. R. Civ. P. 26(b)(1), or (2) is of such marginal relevancy that

the potential harm occasioned by discovery would outweigh the ordinary

presumption in favor of broad disclosure. Conversely, when the relevancy of the

discovery request is not readily apparent on its face, the party seeking the

discovery has the burden to show the relevancy of the request. Relevancy




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determinations are generally made on a case-by-case basis.” See Id. at 3 (Citing

Gen. Elec. Cap. Corp. v. Lear Corp., 215 F.R.D. 637, at 640 (D. Kan. 2003))

      8.    Plaintiff Haulmark is given a lecture by Defendant Whipple

regarding how to behave in this litigation, including the paternalistic argument

that Whipple's Facebook Page is off-limits to discovery. It is not the issue nor is it

the test whether Defendant Whipple's campaign Facebook page is subject to

discovery. The test is whether the request for discovery is “reasonably calculated

to lead to the discovery oof admissible evidence.”

      9.    Haulmark’s Motion has been filed pursuant to Rule 37(a), asking this

Court to order Defendant Whipple to fully respond to twelve requests in

Haulmark’s First Set of Requests for Production of Documents regarding

Whipple’s Facebook Page. (See ¶¶ 23-39 in Haulmark’s Motion). In his motion,

Plaintiff Haulmark detailed how Defendant Whipple set up a public forum on

Whipple's Facebook Page, citing numerous legal authorities upon request. In

addition, Plaintiff Haulmark explained how Defendant Whipple uses the same

page as a location to meet with the public. Plaintiff Haulmark then outlined how

Title II applies to Whipple's Facebook page. By doing this, Plaintiff Haulmark

has sufficiently met the low burden of showing how Whipple’s Facebook Page is

within the scope of relevancy pursuant to Gen. Elec. Cap. Corp.’s decision.




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      10.   To argue that Haulmark's requests related to Whipple's Facebook

Page are irrelevant for discovery, Defendant Whipple filed Whipple's Response.

His opposition brief failed to resist the low burden of relevance that has been

established by Plaintiff Haulmark. See Waters v. Union Pac. R.R. Co., No.

15-1287-EFM-KGG, 2016 WL 3405173, at *1 (D. Kan. June 21, 2016) ("Relevance

is broadly construed at the discovery stage of the litigation and a request for

discovery should be considered relevant if there is any possibility the information

sought may be relevant to the subject matter of the action." (Internal quotations

and citation omitted); “Once this low burden of relevance is established, the legal

burden regarding the defense of a motion to compel resides with the party

opposing the discovery request.” (Internal quotations and citation omitted)).

“Unless a request is overly broad, irrelevant, or unduly burdensome on its face,

the party asserting the objection has the duty to support its objections.” Funk v.

Pinnacle Health Facilities XXIII, LP , No. 17-1099-JTM-KGG, 2018 WL 6042762,

at *3 (D. Kan. Nov. 19, 2918) (quoting Hammond v. Lowe's Home Ctrs., Inc., 216

F.R.D. 666, at 670 (D. Kan. 2003))

      11.    In an attempt to prematurely attack the merits of Plaintiff

Haulmark's claim of Title II violations, Defendant Whipple presented possible

defenses in his response to Haulmark’s Motion. Presenting possible defenses is

not a proper objection to overcome Plaintiff Haulmark's low burden of relevancy.



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See Williams v. Bd. of Cty. Comm'rs, 192 F.R.D. 698, at 705 (D. Kan. 2000) (“A

party does not have to prove a prima facie case to justify a request which appears

reasonably calculated to lead to the discovery of admissible evidence. When the

relevancy of propounded discovery is not apparent, however, its proponent has

the burden to show the discovery relevant.”) (Citing Pulsecard, Inc. v. Discover

Card Serv., Inc., 168 F.R.D. 295, at 309 (D.Kan.1996))

      12.   Due to these possible defenses being raised by Whipple, Whipple’s

Facebook Page becomes more relevant. See Rule 26(b)(1) (“Parties may obtain

discovery regarding any nonprivileged matter that is relevant to any party's [...]

defense and proportional to the needs of the case[.]”)

      13.   While opposing Plaintiff ’s Motion, Defendant Whipple provides only

one specific citation to legal authority when asking this Court to consider

whether “Mayor’s personal campaign Facebook page is a public entity’s service,

program or activity.” (See Whipple’s Response at 2)

      14.   Further, Defendant Whipple failed in his Response to object

specifically against any of Plaintiff Haulmark's twelve specific requests; his

objections are deemed abandoned for each of Plaintiff Haulmark’s requests. See

Kannaday v. Ball, 292 F.R.D. 640, at 644 (D. Kan. 2013) (Ruling "objections

initially raised but not supported in the objecting party's response to the motion

to compel are deemed abandoned"); Cardenas v. Dorel Juvenile Grp., 230 F.R.D.



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611, at 615 (D. Kan. 2005) ("When ruling upon a motion to compel, the Court will

consider only those objections that have been (1) timely asserted, and (2) relied

up in response to the motion to compel. Objections initially raised but not relied

upon in response to the motion to compel will be deemed abandoned."); Sonnino

v. Univ. of Kan. Hosp. Auth., 220 F.R.D. 633, at 656, 670-71 (D. Kan. 2004) ("[A]

court will consider only those objections that have been timely asserted in the

initial response to the discovery request and subsequently reasserted and relied

upon in response to the motion to compel."; “[T]he objecting party must

specifically show in its response to the motion to compel, despite the broad and

liberal construction afforded by the federal discovery rules, how each request for

production or interrogatory is objectionable.” )

                              III. TITLE II OF THE ADA

      15.   While Haulmark's Motion outlines Title II of the ADA, which

provides a broad, remedial framework, as applicable to Whipple's Facebook Page,

Defendant Whipple continues to misunderstand the meaning of services,

programs, and activities within the first clause of Title II statutory language. In

asking this Court whether Mayor Whipple's personal Facebook page is a public

entity's service, program, or activity, Plaintiff Haulmark has never asserted that

Whipple's Facebook Page is one. Instead, it is alleged to be a communication

barrier. (See ¶ 52 in Haulmark’s Motion)



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      16.   As one of the proposed Title II defenses, Defendant Whipple asserts

that Whipple’s Facebook Page is not a public entity’s service, program, or

activity, which is technically true. In spite of the fact that Plaintiff Haulmark

never stated in his pleadings or during his discussions with the Defendants that

Whipple's Facebook Page may constitute a service, program, or activity of a

public entity, he pointed out that “[t]hese courts conducted necessary judicial

review in many of those cases to determine that the public officials' social media

posts themselves sometimes constitute government speech within public forums.”

(See ¶ 67 in Haulmark’s Motion)

      17.   Based upon Haulmark's Complaint, then expanded in Haulmark's

Motion, the Defendant City of Wichita allegedly established a public forum on

Whipple's Facebook Page, where Title II applies to whatever the City of Wichita,

as a public entity, offers as an output within that public forum. (See ¶ 70 in

Haulmark’s Motion) As a result of Plaintiff Haulmark's claim that there might

exist on that Facebook Page a public forum where services, programs, and

activities are offered by the City of Wichita, Whipple's Facebook Page is relevant

for discovery. This discovery process might help Plaintiff Haulmark clarify and

refine his claims. (See Rule 26(b)(1)) (“Parties may obtain discovery regarding

any nonprivileged matter that is relevant to any party's claim … and

proportional to the needs of the case[.]”) (Emphasis added)



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             IV. ALLEGED DEFENSES AGAINST ADA RELATED TO
                       WHIPPLE’S FACEBOOK PAGE

      18.   Whipple's Response must be seen as an excessively aggressive

request for an early ruling on Haulmark's claim of ADA violations during the

discovery stage of the litigation. This request is made with the intention of

disqualifying Plaintiff Haulmark's right to bring a private action under ADA to

this Court. Defendant Whipple argues with Title II defenses despite the fact that

discovery is the issue.

      19.    As a result of using stalling and stonewalling tactics to prevent

Plaintiff Haulmark from obtaining admissible evidence demonstrating the

substantial violations, harms, and injuries that Defendant Whipple has caused

and continues to cause Plaintiff Haulmark through Whipple's Facebook Page,

Defendant Whipple protests the pursuit of justice by Plaintiff Haulmark.

      20.   Defendant Whipple, however, has not denied the allegations made by

Plaintiff Haulmark under the second clause of Title II. This clause does not

require consideration of a service, program, or activity offered by a public entity.

(See ¶¶ 89-94 in Haulmark’s Motion)

      21.   Plaintiff Haulmark is entitled to obtain this relevant information,

including what Defendant Whipple may use as evidence for his possible defenses,

to support his ADA claims. Plaintiff Haulmark will provide details below on how




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these alleged defenses will fail if this Court insists on reviewing and considering

Defendant Whipple's defense arguments.

(A) Whipple’s Facebook Page is not a service, program, or activity
offered by a public entity;

      22.   As stated earlier, Plaintiff Haulmark never asserted in his pleadings

or during his discussions with the Defendants that Whipple's Facebook Page

could be considered a service, program, or activity of a public entity. Instead,

Whipple’s Facebook Page is a location where some of the City of Wichita’s

services, programs, and activities are offered to the public. (See ¶ 66 in

Haulmark’s Motion)

      23.   When visiting private premises, law enforcement officers often make

arrests, which are considered a service, program, or activity under Title II. Even

though the Tenth Circuit never squarely decided the Title II applied to arrests, it

has identified and presented two potential theories of Title II claims arising from

arrests by law enforcement officers: the wrongful arrest theory and the

reasonable accommodation theory. (See Clark v. Colbert, 895 F.3d 1258, at 1265

(10th Cir. 2018)). In parallel with Defendant Whipple's ridiculous argument

regarding a Facebook page, he may contend with the same misperception that a

private business premises where a law enforcement officer made an arrest is not

a public service, program, or activity.




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      24.   A second example would be polling places located on private

premises, such as a church. See Meadows v. Hudson County Board of Elections,

Civ. No. 04-3979 (WHW) (D.N.J. Aug. 24, 2006). By using the same argument

about Whipple's Facebook Page, Defendant Whipple may raise the same

ridiculous defense by saying that a church is not a service, program, or activity of

a public entity, rather than admitting that access to polling places is a service,

program, or activity of a public entity.

      25.   This next and last example shows how sidewalks are constructed by

municipalities. However, they are also provided by municipalities as programs

and services, even on private property, like in front of a restaurant. See Lewis v.

Powers, Civil Action No. 1:15-CV-02692-MEH (D. Colo. Nov. 30, 2018). Defendant

Whipple may use the same ridiculous argument he applies to his Facebook page

to argue that the front end of a restaurant property, which is constructed with

sidewalk, is not a public service, program, or activity.

      26.   Generally, courts review Title II violations by public entities by

determining if the normal functions of a government entity exist or not. Then,

the courts determine whether or not these functions are accessible for individuals

with disabilities. An alleged violation of Title II need not be tied to a specific

location, such as a social media platform. (See ¶ 49 in Haulmark’s Motion)

Plaintiff Haulmark is alleging that Defendant Whipple is serving the public on



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his campaign’s Facebook page as a mayor. (See ¶ 66 in Haulmark’s Motion).

Thus, the City of Wichita is liable for damages under Title II for failing to ensure

that communication between its mayor and individuals with hearing disabilities

is as effective as it is with those without hearing disabilities.

      27.    Due to this controversy, Whipple's Facebook Page is relevant to

Plaintiff Haulmark's discovery under Rule 26(b)(1). To establish whether Title II

applies to Defendant Whipple's social media content, Plaintiff Haulmark needs

to be able to gather the relevant information from and about Whipple's Facebook

Page. This information needs to be presented as admissible evidence for this

Court to review and consider Plaintiff Haulmark's ADA claims later in this case.

(B) the City of Wichita “cannot provide services, programs, or activities
through the campaign page of an elected official” and argues that
Martinez v. Coumo, 459 F. Supp. 3d 517, 522 (S.D.N.Y. 2020) is not
applicable;

      28.    This argument seems to be presented by Defendant Whipple on

behalf of the City of Wichita to avoid vicarious liability for violations of Title II of

the ADA.

      29.    Not only do these three examples, discussed above, apply here to

contest Defendant Whipple’s argument, Defendant Whipple chose to refuse to

meet and interact “with the public to share the announcements, responses by the

city, share critical health updates, and discuss important city business” on the




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“Mayor’s Page controlled by the City[.]” (See ¶¶ 66, 79 in Haulmark’s Motion; See

Whipple’s Response at 2) That decision is in violation of Title II.

      30.   Title II clearly establishes liability for discriminatory conduct by

government employers and their employees, agents, contractors, licensees, and

others. This is based on the plain text of the implementing regulation and the

weight of the caselaw. (See ¶ 77 in Haulmark’s Motion) Public entities' duties not

to discriminate are nondelegable, and they may also be held liable for disability

discrimination committed by contractors and other agents, not just their

employees. (See ¶ 79 in Haulmark’s Motion). Under Title II, a public entity is

liable for compensable harm caused during the course of its programs, services,

and activities, regardless of how it structures or staffs them. See Amparo v. Bd.

of Educ. of Las Cruces Pub. Sch., No. 12-CV-00136, 2013 WL 12330000, at *3

(D.N.M. May 21, 2013) (Applying vicarious liability to Title II claims); Doe v. Bd.

of Cnty. Comm'rs of Craig Cnty., No. 11-CV-0298, 2011 WL 6740285, at *2-4

(N.D. Okla. Dec. 22, 2011) (same); Morales v. City of New York, No. 13-cv-7667,

2016 WL 4718189, at *7 (S.D.N.Y. Sept. 7, 2016) (“[T]he law is clear that

municipalities may be held vicariously liable for violations of Title II of the ADA

and Section 504 of the Rehabilitation Act committed by their agents.”).

      31.   Due to this refusal, Defendant Whipple's willingness to be dismissive

towards the individuals with hearing disabilities who cannot obtain important



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information, intended for the public, from the City of Wichita's mayor, Martinez

v. Cuomo, applies in full here. (See ¶ 75 in Haulmark’s Motion; 459 F. Supp. 3d

517 (S.D.N.Y. 2020)).

      32.      Governor Cuomo was sued not only for not providing ASL over

television broadcasting, but also for failing to make his briefings accessible to

these individuals with hearing disabilities. These individuals could not

understand captioning or who could not access the internet to watch the briefings

with a sign language interpreter provided. See Martinez at 520 (“Specifically,

Plaintiffs argue that although videos of ASL interpretations of Governor Cuomo's

briefings are available through a link on the Governor's website, because they

lack internet access, they cannot view the videos. Similarly, while some of the

channels that broadcast Governor Cuomo's live briefings include closed

captioning, Plaintiffs argue that the closed captions do not accommodate them

because they cannot read English at all or well enough to understand the

information. As a result, Plaintiffs seek a mandatory preliminary injunction to

require Governor Cuomo to provide an in-frame ASL interpreter during televised

broadcast briefings. The Court GRANTED Plaintiffs' motion for a preliminary

injunction on May 11, 2020. Dkt. 18. This opinion explains the Court's

rationale.”)




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      33.   In Plaintiff Haulmark's case, the City of Wichita fails to provide any

accommodations as requested in order to ensure that Plaintiff Haulmark is able

to understand the information that Wichita's mayor shares with the public on

Whipple’s Facebook Page with his Facebook live videos. (See ¶ 3 in Haulmark’s

Complaint) In addition, the City of Wichita fails to make reasonable

modifications to ensure that its mayor’s public briefings are in an accessible

location where individuals with a hearing disability are able to participate in and

benefit from. (See ¶ 5 in Haulmark’s Complaint; See ¶ 91 in Haulmark’s Motion)

(C) State campaign finance law prohibit the City of Wichita from
providing benefits to a campaign;

      34.   Defendant Whipple argues that a state statute prohibits a campaign

from receiving benefits from the City of Wichita to cover any ADA-required

auxiliary aids or services, citing a possible undue burden or hardship defense.

      35.   Defendant Whipple did not cite any legal authority for his possible

defense, but it is true that an employee or officer of a municipality may not use

public funds “to expressly advocate the nomination, election or defeat of a clearly

identified candidate to state office or local office.” See K.S.A. § 25-4169a.

      36.   As required to be in compliance with Title II of the ADA, making

reasonable modifications and providing accommodations does not constitute “to




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expressly advocate the nomination, election or defeat of a clearly identified

candidate to state office or local office.” See Id.

(D) Defendant Whipple asserts that his speeches are the product of a
campaign;

      37.    As a state actor, Whipple argues that Title II cannot be applied

because his Facebook posts are campaign speeches. He argues this without

directly disputing Plaintiff Haulmark’s claim that Defendant Whipple is

delivering government speech through his Facebook page. This argument has no

merit, because there is no “campaign speech” exception to Title II.

      38.    According to the court in Knight First Amendment Inst. at Columbia

Univ. v. Trump, the interactive space associated with Defendant Whipple's

Facebook Page is consistent with all the characteristics dispositive of the forum

analysis issue. See (Knight I), 302 F. Supp. 3d 541, at 574 (S.D.N.Y. 2018) (The

Southern District of New York “consider[ed] whether the interactive space is a

designated public forum, with governmental intent serving as the touchstone for

determining whether a public forum has been created. Intent is not merely a

matter of stated purpose. Indeed, it must be inferred from a number of objective

factors, including: the government's policy and past practice, as well as the

nature of the property and its compatibility with expressive activity.")




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      39.     Any campaign speech shared in a public forum by an incumbent

public official can also be construed as government speech coming from the office

that the public official represents. Thus, Title II of the ADA requires public

entities to ensure that communication with individuals with a hearing disability

within their public forums is as effective as with those without a hearing

disability.

(E) an ASL interpreter would be required to accompany Defendant
Whipple every time he gives a speech;

      40.     When discussing about when Defendant Whipple chooses to provide

information to the public, he complains that he must always be accompanied by

an interpreter using sign language.

      41.     With this illogical argument, Defendant Whipple is asking for

sympathy from this Court for the City and its mayor. This is because Title II

requires his public briefings and meetings with the public to be accessible to

Plaintiff Haulmark and other individuals with a hearing disability. Meanwhile,

Plaintiff Haulmark is alleged to repeatedly suffer significant harms and injuries

due to the Defendants’ failure to accommodate and failure to make reasonable

modifications upon request. See Hamer v. City of Trinidad, 924 F.3d 1093, at

1107 (10th Cir. 2019) (“[E]ach time a qualified individual with a disability

encounters or actually becomes aware of a non-compliant service, program, or




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activity and is thereby deterred from utilizing that service, program, or activity,

he or she suffers discrimination and a cognizable injury.”) (Internal quotation

marks and citations omitted)

      42.   While he alleges in his Complaint and in Haulmark's Motion that

Defendant Whipple fails to provide any auxiliary aids or services when

publishing Facebook Live videos on Whipple's Facebook Page, Plaintiff

Haulmark has never specifically requested sign language interpreters since he

can read and understand captioning and transcripts when provided as in any

other action if a sign language interpreter is not provided.

      43.   Title II provides that a defendant can establish their affirmative

defense of undue burden, but only if the head of the public entity makes this

decision "after considering all resources available for use in the funding and

operation of the service, program, or activity, and [the decision] must be

accompanied by a written statement of the reasons for reaching that conclusion."

28 C.F.R. § 35.150(a)(3). Additionally, the public entity "shall take any other

action that would not result in such an alteration or such burdens but would

nevertheless ensure that individuals with disabilities receive the benefits or

services provided by the public entity." See Id. (Emphasis added)

      44.   In this case, due to the fact that the Defendants have not

demonstrated that they have established all the elements of their affirmative



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defense of undue burden so far, Defendant Whipple's argument concerning his

burden of complying with Title II should be outright rejected when deciding

whether to grant Haulmark’s Motion.

(F) the COVID-19 pandemic has forced Defendant Whipple to work from
home;

      45.   Defendant Whipple points out how the COVID-19 pandemic has

changed the way he campaigns and carries out his duties as the mayor of

Wichita. (See Whipple’s Response at 3) Defendant Whipple admits he conducts

some of his duties as Mayor of Wichita on his campaign Facebook page, including

discussing and interacting with the public via his Facebook Live videos on behalf

of the City. (See Id. at 3) However, Defendant Whipple admits that he wants to

use the COVID-19 pandemic as an excuse to intentionally exclude Plaintiff

Haulmark and other individuals with a hearing disability from having access to

his public briefings and discussion on his Facebook page. (See Id. at 3)

      46.   The realities of 21st century interactions, including those brought

about by the COVID-19 pandemic, further confirm that Title II addresses a

government's provision of information and services through its websites and

other means of information exchange. South Dakota v. Wayfair, Inc., 138 S. Ct.

2080, at 2097 (2018) (Noting “the far-reaching systemic and structural changes




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in the economy and many other societal dimensions caused by the Cyber Age.”)

(Internal quotation marks omitted)

         47.      With an official statement, the U.S. Department of Justice’s Civil

Rights Division affirms the Department will remain vigilant in enforcing civil

rights laws during the COVID-19 pandemic to ensure that fear and prejudice do

not limit access to housing, schools, benefits, services, jobs, and information,

among other things, on account of race, sex, religion, national origin, disability,

or other protected classes. “Laws prohibiting unlawful discriminatory behavior

must and will be vigorously enforced.” See Statement by Assistant Attorney

General for Civil Rights, Eric S. Dreiband, Protecting Civil Rights While

Responding to the Coronavirus Disease 2019 (COVID-19)1

         48.      Upon completion of his discovery process on Whipple's Facebook

Page, Plaintiff Haulmark intends to meet the Title II’s required burden of proof

to establish that Defendant Whipple engages with the public, beyond his role as

a candidate for reelection to the mayoral office, in his official capacity as the

mayor of the city on his campaign Facebook page.

(G) a city ordinance does not provide the mayor’s position any authority
to enforce the ADA; and




1
 Protecting Civil Rights While Responding to the Coronavirus Disease 2019 (COVID-19),
https://www.ada.gov/aag_covid_statement.pdf



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        49.   Defendant Whipple brings up a city ordinance in order to argue that

a mayor of the City of Wichita is not authorized to enforce ADA laws on behalf of

the city. (See Whipple’s Response at 3-4)

        50.   Plaintiff Haulmark has cited a state law that authorizes a mayor to

enforce all laws, including the ADA. (See ¶ 76 in Haulmark’s Motion)

        51.   This issue should be argued with evidence being presented by both

parties after discovery has been completed because of the controversy involved

here.

(H) a worry that if ADA is applicable to Defendant Whipple’s speech on
his personal Facebook page, other elected officials will be subject to the
same federal law for their speeches on their own personal Facebook
pages.

        52.   Defendant Whipple demonstrates his concern over other public

officials who must comply with the same anti-discrimination laws as he must. In

this case, it must be pointed out that he has displayed no sympathy for Plaintiff

Haulmark and other individuals with a hearing disability. These individuals are

intentionally excluded from being able to access the City’s crucial information

communicated to the public on Whipple’s Facebook Page.

        53.   Upon conclusion of this case, it may serve as a precedent for Title II

claims in social media contexts. This may show that public officials cannot

exclude individuals with a hearing disability from any public briefings and




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discussions, no matter where they are held. Consequently, Defendant Whipple

and other public officials will no longer be reluctant to provide the ADA-required

effective communication access to individuals with a hearing disability.

          V. DEFENDANT WHIPPLE IS THE PROPER PARTY TO BE
        ORDERED TO FULLY RESPOND TO PLAINTIFF HAULMARK’S
                        TWELVE REQUESTS

      54.   Defendant Whipple argues in his response that the campaign's

Facebook page is not subject to Title II of the ADA since he is acting as a private

individual on it.

      55.   It's important to remember that even if Defendant Whipple wasn't

the elected mayor and wasn't named in this lawsuit, but rather is someone

running a private Facebook page where a different individual conducts the duties

of the mayor, Whipple may be subject to Rule 45 of the Federal Rules of Civil

Procedure, which permits subpoenas to be issued to non-parties. However,

Plaintiff Haulmark probably cannot successfully apply Rule 45 to Whipple in

order to obtain relevant information regarding Whipple's Facebook page if this

other individual, acting as the mayor, controls the relevant requested documents

pertaining to this private Facebook page. As a result, that mayor as a party to

this lawsuit will be compelled by this motion. See Landry v. Swire Oilfield

Servs., L.L.C., 323 F.R.D. 360, at 397 (D.N.M. 2018) ("Courts may refuse

discovery requests aimed at nonparties in cases where the same testimony or



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documents could instead be obtained from a party to the action, and a few courts

even impose a heightened relevancy requirement for nonparty discovery

requests.") (Citation and quotation omitted).

       VI. PLAINTIFF HAULMARK HAS THE RIGHT TO ADD SECTION
      1983 CLAIMS TO HIS AMENDED COMPLAINT INSOFAR AS TITLE
           II OF THE ADA DOES NOT PRECLUDE THESE SPECIFIC
                                CLAIMS

      56.   Defendant Whipple does not seem to comprehend that Plaintiff

Haulmark has the right to bring before this Court at least a violation of 42 U.S.C

§ 1983 (hereinafter "Section 1983") claim against Defendant Whipple if the

completed discovery shows that Defendant Whipple's three unconstitutional

actions deprived Plaintiff Haulmark of his First Amendment rights with state

action taken without consideration of his hearing disability.

      57.   If the discovery uncovers admissible evidence that Defendant

Whipple acted on a basis of Plaintiff Haulmark’s hearing disability, then there

will not be a necessary amendment to be made to Plaintiff Haulmark’s

Complaint that at least includes a Section 1983 claim to be added and clarified.

Section 1983 claims are precluded by the ADA if all Title II elements are met.

(See ¶ 19 in Haulmark's Motion)

      58.   Obtaining facts from this required discovery process to show Plaintiff

Haulmark was discriminated against on Whipple's Facebook Page on account of




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his hearing disability is vital to determining the applicability of Title II of the

ADA to a possible Section 1983 claim. (See ¶¶ 20-21 in Haulmark's Motion)

       59.    There is a definite paradox in Whipple's Response. This is because

Defendant Whipple uses a metaphor of a basketball game with a leading point

that is incorrect, in claiming that Plaintiff Haulmark's response when he was

filing Haulmark’s Motion was predictable. K-State only had a 17 point lead over

the Jayhawks on January 22, 20222. In addition, the Defendants received exactly

92% of the draft of Haulmark's Motion on December 22, 2021. (See ¶ 95 in

Haulmark’s Motion) For fifty-six days until Haulmark's Motion was filed, there

was nothing to predict. Perhaps this metaphor is meant in a patronizing manner

toward Plaintiff Haulmark.

                                          VII. SUMMARY

       60.    Plaintiff Haulmark clearly alleges in his Complaint that a public

entity is posting videos on Whipple's Facebook Page, containing more than its

mayor's government speeches. These Facebook Live videos are without captions

or any other alternative auxiliary aids or services. The City of Wichita directly

caused the lack of auxiliary aids or services. This is because its mayor posted the

Facebook Live videos, containing government speech and activities, on Whipple's




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 Kansas vs. Kansas State - Team Statistics - Jan 22, 2022, ESPN,
https://www.espn.com/mens-college-basketball/matchup?gameId=401368382


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Facebook Page without captions or any other alternative auxiliary aids or

services.

      61.   It is perfectly reasonable to interpret Title II as applying to public

entities’ communication with the public through the internet. In the case of the

City of Wichita's public briefings provided by its mayor on the Wichita's official

Mayor's Facebook page, no one would dispute that Title II would be applicable on

that official page and that any individual with a hearing disability who requested

a reasonable accommodation to benefit from the social media content of this page

would be entitled to one.

      62.   However, as per Defendant Whipple's reading, Title II does not apply

if Defendant Whipple posts social media posts containing the content of

government speech and activities on the mayor's private Facebook account. That

is absurd, as social media content containing government speech or activity is

simply one of the many “services, programs, or activities” that a municipality

provides through its mayor, an issue that strikes to the heart of Title II’s

protections. At this stage, this Court must accept as true the allegations that the

City of Wichita is causing the inaccessibility.

      63.    It appears that Defendant Whipple wishes this Court to enter

summary judgment, in ruling on a discovery motion, with respect to the ADA

claims pending against the Defendants. In his response, Defendant Whipple



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argues that Plaintiff Haulmark must establish that Title II applies to the City of

Wichita's public forum, where his government speech and activity are to be

found, on his campaign Facebook page, before Plaintiff Haulmark can conduct

discovery on that page. While Defendant Whipple failed to explain why his

speech and meeting with the public would fall outside of the broad category of a

public entity’s services, programs, and activities, he has not referred to any of the

applicable federal rules, applicable statutes, or applicable regulations that

command the premature process that he insists upon.

      64.   Making this determination as to whether a public entity is liable in a

given case is a fact-specific and fact-intensive inquiry that may need to be

reserved until after discovery. One of the major decisive issues of this case is how

Title II applies to the public forum and interactive space located on Whipple’s

Facebook Page, which must be decided by this Court after the parties have each

presented their evidence. In the event Plaintiff Haulmark prevails with his

litigation, the Defendants' wall of shame will deservedly come tumbling down.

      65.   Thus, Plaintiff Haulmark has demonstrated that Whipple's Response

is an amalgamation of hypothetical theories, unavailable defenses, and mere

speculations intended to waste judicial resources and create barriers in the way

of justice and a possible fair settlement, by refusing to accept the likelihood of




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                       CERTIFICATE OF SERVICE
I hereby certify that on this 1st of March 2022, a true and correct copy of the
above and foregoing document was sent via email as an attached file in
format of PDF to the clerk of the U.S. District Court for the District of
Kansas and to each of the following:




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Wichita                  Brandon Whipple
